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           EXHIBIT A-38
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              DISTRICT OF COLUMBIA COURT OF APPEALS

              BOARD ON PROFESSIONAL RESPONSIBILITY                          Sep 1 2022 4:52pm




In the Matter of

JEFFREY B. CLARK                                  Disciplinary Docket No.

A Member of the Bar of the District               2021-D193
of Columbia Court of Appeals

Bar No. 455315

Date of Admission: July 7, 1997


                    MOTION TO FILE UNDER SEAL

      Comes now Jeffrey B. Clark, Respondent in the above-entitled matter, and

requests that his Motion to Dismiss be filed under seal.




                      Respondent therefore respectfully requests that the Board

place the Motion to Dismiss under seal

      Respectfully submitted this 1 day of September, 2022.

/s/ Charles Burnham                        Robert A. Destro*
Charles Burnham                            Ohio Bar #0024315
DC Bar No. 1003464                         4532 Langston Blvd, #520
Burnham and Gorokhov, PLLC                 Arlington, VA 22207
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      Case 1:22-mc-00096-RC Document 1-38 Filed 10/17/22 Page 3 of 4




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                         CERTIFICATE OF SERVICE

      I hereby certify that I have on this day served counsel for the opposing party

with a copy of this Motion to File Under Seal by U.S. First Class Mail with

sufficient postage thereon to insure delivery, and by email addressed to:

      Hamilton P. Fox
      Jason R. Horrell
      D.C. Bar
      Building A, Room 117
      515 5th Street NW
      Washington DC 20001
      foxp@dcodc.org

      This this 1 day of September, 2022.


                                       /s/ Charles Burnham
                                       Charles Burnham
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